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Mark W. Wege (Texas Bar No. 21074225)
Edward L. Ripley (Texas Bar No. 16935950)
Eric M. English (Texas Bar No. 24062714)
KING & SPALDING LLP
1100 Louisiana, Suite 4000
Houston, Texas 77002
Telephone: 713-751-3200
Facsimile: 713-751-3290
Email: MWege@kslaw.com
       ERipley@kslaw.com
       EEnglish@kslaw.com

ATTORNEYS FOR CHEVRON U.S.A. INC. AND
UNION OIL COMPANY OF CALIFORNIA

                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

In re:                                           §         Chapter 11
                                                 §
ERG Intermediate Holdings, LLC, et al.,          §         Jointly Administered
                                                 §
Debtors.                                         §         Case No.: 15-31858-hdh-11


      RESPONSE OF CHEVRON U.S.A. INC. AND UNION OIL COMPANY OF
   CALIFORNIA TO MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED
                   CREDITORS TO TRANSFER VENUE
                         (Related to Doc. No. 94)

         Chevron U.S.A. Inc. and Union Oil Company of California (collectively, “Chevron”) file

this Limited Objection (the “Objection”) to The Motion of the Official Committee of Unsecured

Creditors to Transfer Venue (the “Venue Motion”) and respectfully represents as follows.

                                        BACKGROUND

         1.     On April 30, 2015 (the “Petition Date”), the Debtors commenced cases under

chapter 11 of the Bankruptcy Code by filing petitions in this Court.

         2.     On the Petition Date, the Debtors also filed the Consolidated List of Creditors

Holding 20 Largest Unsecured Claims (the “20 Largest List”) (Doc. No. 1, at 12). Chevron


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U.S.A. Inc. is listed as the largest creditor on the 20 Largest List, and the Debtors state that they

owe Chevron U.S.A. Inc. $3,820,204 arising from a “Royalty Agreement” (the “Chevron

Claim”).1 The Debtors have acknowledged that the Chevron Claim is not disputed, contingent or

unliquidated.

         3.       Chevron’s Claim consists of the proceeds of royalty interests and overriding

royalty interests specifically excepted from Chevron’s sale of certain assets, including mineral

fee and leasehold interests, to the Debtor ERG Resources, LLC in 2010 located in the Cat

Canyon Field in Santa Barbara County, California (“Chevron Cat Canyon Assets”). Chevron’s

property includes, but is not limited to, various royalty, overriding royalty and other real property

interests, and the proceeds of any such interests, in the Chevron Cat Canyon Assets (“Chevron’s

Property”). As the holder of royalty and overriding royalty interests, Chevron is entitled to

payment of past-due royalty obligations, as well as ongoing post-petition royalty obligations

related to funds currently directed to the Debtors. Further, pursuant to the sale of the Chevron

Cat Canyon Assets from Chevron to Debtor ERG Resources, the Debtors have other obligations

to Chevron, including but not limited to indemnification, decommissioning and other

environmental obligations necessarily involved in owning and operating oil and gas properties

(“ERG Additional Obligations”).

         4.       The Debtors have not paid Chevron for its royalties from production following

December 31, 2013, and have not provided documentation to Chevron regarding production so

that Chevron can determine the amounts owed, or determine the accuracy of prior payments.

         5.       The Debtors have asserted that they own approximately 19,027 gross lease acres

in the Cat Canyon Field which were acquired through a series of transactions since 2010, and

1
 Chevron agrees with the Debtors that Chevron holds a significant claim in these cases. Chevron is in the process
of determining the amount of that claim and reserves its right to file a proof of claim in an amount different from the
Chevron Claim.


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that the Debtors own an average working interest of approximately 97% and have an average net

revenue interest of 78%, with a 7% overriding royalty interest owned by ERG Interests, LLC, an

affiliate. It is not clear from the Debtors’ filings to date what other royalty interest owners exist

in the Cat Canyon Field, other than Chevron and ERG Interests, LLC, or may claim an interest in

the Cat Canyon Field. In any event, Chevron holds (at a minimum) royalty and overriding

royalty rights in a substantial portion of the property interests that comprise the Cat Canyon

Field.

         6.    On May 15, 2015, the Official Committee of Unsecured Creditors (the

“Committee”) filed the Venue Motion, in which the Committee seeks to transfer the venue of the

Debtors’ cases from the Northern District of Texas to either the Central District of California, the

Southern District of Texas or the Eastern District of Texas. In the Venue Motion, the Committee

asserts that venue is not proper in the Northern District of Texas pursuant to 28 U.S.C. §1408

and/or in the alternative, that if venue is technically proper, the cases should be transferred

pursuant to 28 U.S.C. §1412 in the “interests of justice or the convenience of the parties.”

                                           RESPONSE

         7.    Chevron has no objection to these cases remaining in this District and before this

Court. This Court (like others in the Northern District of Texas) has substantial experience

dealing with oil and gas cases and the issues particularly applicable to debtors owning and

operating oil and gas properties including royalty-related issues. The Court has held some

hearings and gained some insight into the issues facing these Debtors and their estates.

         8.    However, if there is a concern regarding whether venue is proper under 28 U.S.C.

§ 1408, Chevron would support transfer of the venue of the Debtors’ cases to the Southern

District of Texas (Houston Division). The Debtors’ headquarters, including its principle place of




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business, is located in Houston. Thus, venue would clearly be proper there pursuant to 28 U.S.C.

§ 14082.

         9.       As to the Section 1412 issues, courts in the Southern District of Texas have

substantial experience in dealing with oil and gas debtors and the unique business and legal

issues arising in chapter 11 cases with debtors that own and operate oil and gas properties. For

example, in the Southern District of Texas, there are specific provisions in the Local Bankruptcy

Rules for Complex Chapter 11 Cases that deal with oil and gas exploration and production

debtors including, for example, the requirement to set up bank accounts and segregate gross

production proceeds which are not property of the estate to insure that royalties and severance

taxes are paid. These issues will be important in these cases because the Debtors failed to make

such payments to Chevron (and potentially others) pre-petition and, based on the pleadings so

far, it appears that Debtors have not segregated funds attributable to royalties and severance post-

petition. Thus, it appears that the Debtors continue to commingle and use funds that are not

property of estate creating significant issues and exposure to the estates. This critical issue could

be dealt with by transferring venue to the Southern District of Texas, Houston Division3.

         10.      As noted above, the Debtors have listed Chevron as having the largest unsecured

claim in these cases. Chevron’s in-house counsel with responsibility for this matter is located in

Houston along with the outside counsel Chevron has retained in these cases (King & Spalding

LLP). Additionally, certain of the individual business persons from Chevron with knowledge

and information about the 2010 transaction concerning Chevron’s Cat Canyon Assets are also



2
 While Chevron has no objection to venue in the Eastern District of Texas, it appears that the Debtors’ venue
connections there are minimal especially as compared to the Southern District of Texas.
3
  Even if venue remains here, as noted in other pleadings filed by Chevron, the Debtors should be required to create
a separate, segregated account and deposit all sums received for post-petition production for royalties and severance
and turnover such funds promptly. Such funds are not property of the bankruptcy estates.


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located in Houston. From Chevron’s perspective, while there is a “California” connection to the

Debtors’ cases, it is clear that the Southern District of Texas would without question be a proper

and convenient forum, if the Court determines that venue of these cases should be transferred.

Moreover, assuming that a transaction occurs for the Debtors’ California assets particularly at the

outset of these cases, the only remaining assets and operations of the estates would be in Texas.

The Debtors have expressed this strategic approach at the outset of these cases. Thus, it is not

clear that transferring these cases out of Texas, when only a Texas relationship and properties

exist following an initial sale of the California assets, would meet the Section 1412 test.



Dated: May 27, 2015                                  Respectfully submitted,
       Houston, Texas
                                                     KING & SPALDING LLP

                                                     /s/ Mark W. Wege
                                                     Mark W. Wege
                                                     Edward L. Ripley
                                                     Eric M. English
                                                     KING & SPALDING, LLP
                                                     1100 Louisiana, Suite 4000
                                                     Houston, Texas 77002
                                                     Telephone: 713-751-3200
                                                     Facsimile: 713-751-3290
                                                     Email: MWege@kslaw.com
                                                            ERipley@kslaw.com
                                                            EEnglish@kslaw.com

                                                     ATTORNEYS FOR CHEVRON U.S.A.
                                                     INC. AND UNION OIL COMPANY OF
                                                     CALIFORNIA




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                                  CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing was served electronically though the

Clerk’s Office ECF noticing facilities upon the parties eligible to receive notice on this 27th day

of May 2015.

                                               __/s/ Mark W. Wege
                                               Mark W. Wege




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